EXHIBIT 28
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                             Case No. 1:25-cv-10910

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                           DECLARATION OF JENNIFER CHEN

I, Jennifer Chen, hereby declare as follows:

       1.      I am a Harvard Data Science and NIH K99/R00 MOSAIC Postdoctoral Fellow.

       2.      I hold a PhD in Bioinformatics and Integrative Genomics from the Massachusetts

Institute of Technology. I also hold a Master of Science in Biomedical Informatics and a Bachelor

of Science in Biomedical Computation from Stanford University.

       3.      My research focuses on evolutionary patterns of innate animal behaviors combined

with comparative genomics, single cell transcriptomics, and other large-scale sequencing ap-

proaches to investigate how genes govern behavior.

       4.      I am a member of Harvard Academic Workers, one of the two collective bargaining

units of Harvard’s chapter of the International Union, United Automobile, Aerospace and Agri-

cultural Implement Workers of America (“HAW–UAW”).

       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.
       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and




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Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters. The government has now

canceled about $2.7 billion in federal grants to Harvard.

       9.      I am also aware of a variety of “stop work” orders that have been issued by federal

funding agencies to grants held by researchers working at Harvard beginning in February 2025. I

am aware that on April 4, 2025, the Boston Globe reported on a federal government memorandum

issued March 31 that specified grants for specific research projects the current administration is

targeting. I know that some of these grants belong to UAW members.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       11.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the roughly $2.7 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds at Harvard’s School of Arts and Sciences.

       12.     I received an email on April 2, 2025 notifying me that my grant program (NIH

K99/R00) has been terminated and that any funds beyond the active award (which ends June 30,

2025) will not be funded.

       13.     The K99/R00 I received was funding a research program investigating how genes

specify population sizes of different neuronal populations that are important to innate behaviors as

well as disorders including autism spectrum disorder.

       14.     Both at present and at the time I received the grant termination notice, I have been

on maternity leave. Because the funds will expire before I return from my leave, I have had to




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work unpaid hours during my leave in order to attempt to use the remaining funds before the money

is lost.

           15.   I was planning to apply for faculty positions at Harvard this fall, but I am a less

competitive candidate as a result of my grant termination because that grant would have covered

my salary and funded a portion of the lab as a faculty member.

           16.   Applying for non-governmental sources of funding to replace the frozen funds will

inevitably delay my timeline for finishing my post-doctoral research and applying to faculty jobs.

           17.   I have no reason to believe that Harvard will provide alternative funding to support

my work.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 29, 2025                                    Signed: /s/ Jennifer Chen

                                                              Jennifer Chen
                                                              Postdoctoral Fellow




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